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                                          U.S. Department of Justice
[Type text]
                                                      United States Attorney
                                                      Southern District of New York

                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007


                                                      March 18, 2024

BY ECF

Honorable Lewis A. Kaplan
United States District Judge
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, NY 10007-1312

       Re:     United States v. Samuel Bankman-Fried, S5 22 Cr. 673 (LAK)

Dear Judge Kaplan:

        The Government writes to respectfully request permission to apply narrowly tailored
redactions to certain victim impact statements, pursuant to the Crimes Victims’ Rights Act (the
“CVRA”), 18 U.S.C. § 3771, the Attorney General Guidelines for Victim and Witness Assistance
(the “AG Guidelines”), and prevailing case law. The proposed redactions consist of a limited
category of information, including an individual victim’s name, and where applicable, phone
number, mailing and email addresses, and FTX account identification number.

        The CVRA sets forth the rights of crime victims. Among those rights is the “right to be
treated with fairness and respect for the victim’s dignity and privacy.” See 18 U.S.C. § 3771(a)(8).
The CVRA authorizes the attorney for the government as well as the victim to enforce the rights
granted under it. 18 U.S.C. § 3771(d)(1). As relevant, the AG Guidelines establish guidelines to
be followed by officers and employees of the U.S. Department of Justice (“DOJ”) with respect to
the treatment of victims of and witnesses to crime. See AG Guidelines 2022 Edition (Eff. March
31, 2023). In order to “protect the dignity and privacy interests of victims,” the AG Guidelines
direct DOJ personnel to “exercise particular care to safeguard victim impact statements,” and to
the extent appropriate and legally permissible, “use redaction or other options to avoid public filing
of [personal identifying information] and other sensitive information contained in those
statements.” Articles II.D.1, V.J.3.

        Even in highly publicized cases such as this, courts have held that the minimal redactions
proposed herein (i.e., name, phone number, mail/email address, and account identification number)
strike an appropriate balance between the public’s right to access judicial documents, see Nixon v.
Warner Commc’ns, Inc., 435 U.S. 589 (1978), and a victim’s right to privacy, 18 U.S.C. §
3771(a)(8). See United States v. Belfort, No. 98 Cr. 859 (JG), 2014 WL 2612508, at *3 (E.D.N.Y.
June 11, 2014) (denying press motion to obtain names of the victims of Jordan Belfort’s crimes
and the amount of restitution owed to each victim, and observing that, while the “number of victims
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and total amount they lost played an important role in . . .[the sentencing determination],” the
“specific names and addresses of individual victims did not,” and therefore, this information is
entitled to less weight when balanced against the “the victims’ privacy”). Like in Belfort, the
presumption of public access to the specific names and personal identifying information of
individual victims is outweighed by the victims’ individual privacy rights—particularly, where
their statements about how the defendant’s crimes impacted them are made public, which
statements contain the most relevant information pertaining to the defendant’s sentencing. In other
words, the value to the public of particular names and other identifying information of the
individuals who submitted victim impact statements—as opposed to the content of the
statements—is minimal, whereas the risk of intrusion and even danger to victims that would be
posed by publicizing their personal information in a case that has received the level and type of
scrutiny that this case has (as well as the risk of a chilling effect on other victims coming forward
in this and other cases) is significant.

        Accordingly, the Government respectfully requests permission to apply narrowly tailored
redactions to individual victim impact statements, which anonymizes victim names and personal
identifying information. 1


                                              Respectfully submitted,

                                              DAMIAN WILLIAMS
                                              United States Attorney

                                          by: /s/
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Cc:    Defense Counsel (by ECF)




1
  Accompanying this letter request, the Government has attached two sets of victim impact
statements as Exhibits A and B. Exhibit A contains victim impact statements on behalf of
corporate entities, which do not contain any redactions. Exhibit B contains individual victim
impact statements, which contain limited redactions consistent with the requests herein.
